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                           UNITED STATES BANKRUPTCY COURT
                          EASTERN DISTRICT OF NORTH CARLINA
                                   RALEIGH DIVISION

  In re:                                                Case No. 11-08219-8-JRL

  STEPHANIE LYNN FERGURSON                              CHAPTER 13


                                       NOTICE OF MOTION

 TO:       WELLS FARGO DEALER SERVICES AND TRUSTEE, AND OTHER PARTIES IN INTEREST

               NOTICE IS HEREBY GIVEN of the "Motion To Use Cash Collateral And To
 Allow Substitution of Collateral" (the "Motion"), filed simultaneously herewith by Stephanie
 Lynn Fergurson, the Debtor in the above-captioned case (the "Debtor"); and

                FURTHER NOTICE IS HEREBY GIVEN that the Motion may be granted
 provided no response and request for a hearing is filed by a creditor or other party in interest
 with the Clerk of the above-captioned court and served upon Debtor’s counsel within twenty-one
 (21) days of the date of this notice; and

                 FURTHER NOTICE IS HEREBY GIVEN that if timely written response and a
 request for a hearing is filed with the Clerk of the above-captioned court, and served upon
 Debtor’s counsel, a hearing may be conducted on the Motion at a date, time and place to be set
 by the Court, and all interested parties will be notified accordingly. If no request for a hearing is
 timely filed, the Court may rule on the Motion and any response thereto ex parte without further
 notice.

                 DATE OF NOTICE: April 26, 2012

                                               ADAMS, PORTNOY & BERGGREN, PLLC

                                               /s/William G. Berggren
                                               William G. Berggren
                                               State Bar No. 18675
                                               Post Office Box 18306
                                               Raleigh, NC 27619
                                               Telephone: (919) 875-8773
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                           UNITED STATES BANKRUPTCY COURT
                          EASTERN DISTRICT OF NORTH CARLINA
                                   RALEIGH DIVISION

  In re:                                               Case No. 11-08219-8-JRL

  STEPHANIE LYNN FERGURSON                             CHAPTER 13


                         MOTION TO USE CASH COLLATERAL AND
                        TO ALLOW SUBSTITUTION OF COLLATERAL

                 Stephanie Lynn Fergurson, the Debtor in the above captioned case hereby moves
 the court pursuant to 11 U.S.C. § 105(a), 1303 and 363(b), to use cash collateral and to allow
 substitution of collateral in this case. In support of the Motion the Debtor respectfully
 represents:

        1.      This case was filed on October 27, 2011. The Debtor’s plan has not yet been
 confirmed, although there is a is a pending motion for confirmation.

        2.      The Debtor's schedules of creditors includes Wells Fargo Dealer Services, Inc.,
 (“Wells Fargo”) which is secured by a lien on a 2008 Infinity EX35-V6 (“Vehicle”). Wells
 Fargo has filed a proof of claim asserting a secured claim in the amount of $29,705.28.

         3.      The Vehicle was totaled in an accident, and the damage to the Vehicle is covered
 by an insurance policy issued by Nationwide Insurance Company (“Nationwide”). Nationwide
 is prepared to pay $26,598.00 in connection with this total loss.

        4.      The Debtor is in need of a replacement vehicle for transportation to work and for
 household maintenance. The Debtor has no other means to obtain a replacement vehicle except
 by using the insurance proceeds to be paid by Nationwide.

         5.      The insurance proceeds are property of the estate. The insurance was intended to
 provide for the replacement of the Vehicle in the event of a total loss. The Debtor wishes to use
 the entire insurance proceeds to purchase a replacement vehicle, and turn the title to the
 replacement vehicle over to Wells Fargo to serve as replacement collateral on the obligation.
 The Debtor’s plan will continue to provide payment in full on Wells Fargo’s secured claim in the
 amount of $29,705.28. Which claim is provided for at 5.25% though the Debtor’s plan. The
 proposed order to be submitted in connection with this Motion will provide that Wells Fargo is
 deemed to have a first lien upon such replacement vehicle for purposes of securing its obligation
 and for purposes of the chapter 13 plan and will require the Debtor to turn over the title to the
 replacement vehicle to Wells Fargo as soon as it is received by the Debtor.

        6.      In order to facilitate release of the insurance proceeds to the Debtor, and, in turn,
 the purchase and substitution of a replacement vehicle, the Debtor requests that the order require
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 Wells Fargo to immediately turn over to Nationwide the title to the Vehicle, making whatever
 notations thereon, or providing such other documentation as is necessary, to provide Nationwide
 with title free of Wells Fargo’s lien.

        7.       The Debtor shall also be required to pay over to the Chapter 13 Trustee any
 portion of the insurance proceeds not used in the purchase of the replacement vehicle, which
 amount, if any, is to be paid to Wells Fargo on its secured claim, and its secured claim will be
 adjusted by the chapter 13 Trustee accordingly.

                  WHEREFORE, the Debtor hereby requests that she be allowed to convey her
 interest in the Vehicle to Nationwide free of liens, and to use the entire proceeds of said
 insurance payment to purchase a replacement vehicle and to substitute such replacement vehicle
 as collateral with respect to the obligation owing to Wells Fargo; and to facilitate the substitution
 of collateral, that Wells Fargo be ordered to release the lien on the 2008 Infinity EX35-V6 in
 consideration for a lien on the replacement vehicle; and for such other and further relief the court
 may deem just and proper.

                Respectfully submitted this the 26th day of April, 2012.

                                               ADAMS, PORTNOY & BERGGREN, PLLC

                                               /s/William G. Berggren
                                               William G. Berggren
                                               State Bar No. 18675
                                               Post Office Box 18306
                                               Raleigh, NC 27619
                                               Telephone: (919) 875-8773




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                           UNITED STATES BANKRUPTCY COURT
                          EASTERN DISTRICT OF NORTH CARLINA
                                   RALEIGH DIVISION

  In re:                                               Case No. 11-08219-8-JRL

  STEPHANIE LYNN FERGURSON                             CHAPTER 13



                                   CERTIFICATE OF SERVICE

                I, William G. Berggren, of the Law Firm of Adams, Portnoy & Berggren, PLLC,
 do hereby certify, under penalty of perjury, that I am, and at all times hereinafter mentioned was,
 more than eighteen (18) years of age; and that on April 26, 2012, I served copies of the foregoing
 Notice of Motion and Motion to Use Cash Collateral and to Allow Substitution of Collateral:

 by regular U.S. mail, upon the parties set forth below:

 Wells Fargo Dealer Services, Inc.
 Attn: Managing Agent
 PO Box 19657
 Irvine, CA 92623-9657

 Nationwide Insurance Company
 Attn: Managing Agent
 One Nationwide Plaza
 Columbus, OH 43215-2220

 by electronic service, upon the parties set forth below:

 Robert R. Browning
 Interim Chapter 13 Trustee



                                                       /s/William G. Berggren
                                                       William G. Berggren




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